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                                        DEPARTMENT OF THE ARMY
                                    NEW ENGLAND DISTRICT, CORPS OF ENGINEEBS
                                               696 VIRGINIA ROAD
                                      CONCORD, MASSACHUSETTS O1 7 42-27 51
                REPTY TO
                ATTENTloN OF
                                                May 19,2011
Regulatory DitiSion
CENAE-R-PEB
File Number: NAE-20 I 0-0802

Jeff Andrews
216 Northford Rd
Wallingford,    CT   06492


Dear Mr. Andrews:

         This letter is in fuither reference to work being conducted at your property at216 Northford
Road in Wallingford, Connecticut. The work involves the discharge of dredged or fill material in
wetlands adjacent to a tributary of the Farm River without a Department of the Army permit. The Farm
River, its tributaries and adjacent wetlands are regulated by the Corps of Engineers pursuant to Section
404 of the Clean Water Act (CWA). Section 404 of the CWA (33 USC 1344) prohibits discharges of
                                                                           $
dredged or fill material into waters of the United States, including wetlands, unless the work has been
authorized by a Department of the Army permit. On March 17 , 2011, the Corps sent a letter of inquiry
to you regarding this work (attached), to which we received no response.

         On April 14,2011, Mr. Michael Riccio and Mr. Mike Sheehan of my staff accompanied you on
a visit to the site and confirmed that unauthorized discharges of dredged or fill material into waters of
the U.S' had occurred. You indicated to Mr. Riccio and Mr. Sheehan that you intend to conduct future
work that would also take place within waters and wetlands subject to Corps jurisdiction. During the
site visit, Mr. Riccio and Mr. Sheehan verbally advised you that no further work should be conducted
within areas regulated by the Corps of Engineers, until authorization is obtained.

      Accordingly, veu are hereby directed to cease and desist from any further excavation and
filling activity in jurisdictional waters or wetlands; including but not limited to, mechanized land
clearing such as the stumpin g andlor regrading of land, without the necessary authorization. Please be
advised that violations of the CWA can result in administrative penalties of up to $16,000 per day of
violation, civil penalties, criminal fines or imprisonment. In addition, restoration of the area to its pre-
violation condition may be required.

        Furthermore, initial corrective measures are required in order to control erosion and to prevent
further degradation of the wetlands. Therefore, in accordance with Title 33 Code of Federal
Regulations, Part 326.3(d) as published in the November 13,1986 Federal Register, you are hereby
directed to undertake the following initial corrective measure(s). Failure to comply with these orders
may result in enforcement action by the Corps or the U. S. Environmental Protection Agency.

        1.    Install sedimentation control devices such as geotextile silt fences or staked hay bales
             between all disturbed areas, sediment stock piles and adjacent ponds, watercourses and
             wetlands. These devices must be properly installed in order to prevent the erosion, transport
             and deposition of soil into the waterways and wetlands.
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        2" All bare soils includingstock piles should be immediately stabilized by seeding and
           covering all seeded areas with mulch hay.

        3. A small woodchip dike has been constructed at the downstream end of the pasture fill (see
           attached); maintenance of that dike should continue until the soil has been stabilized with
           native grasses and forbs.

        We request that you confirm your compliance with this order and respond to the questions in
the attached March 17,2011 letter no later than June 6,2011. Compliance with this ordei will not
foreclose the Govemment's options to initiate appropriate legal action or to later require the
submission of a permit application. Further, in order to ascertain whether the site miy be eligible for an
after-the-fact permit, we are requesting permission to re-visit the site at your earliest conv.ttienc".
Please contact Michael Riccio of my staff at (97S) 318-8685 to schedule a follow-up visit, or if you
have any questions, comments or concerns regarding this letter.




                                                  Sincerely,




                                                 Colonel, Corps of Engineers
Attachments                                      District Engineer
Copies Furnished

Denise Leonard
U.S. EPA Region 1
5 Post Office Square Suite 100
Boston, MA 02109

Erin O'Hare
Environmental and Natural Resources Planner
Wallingford Town Hall
45 South Main Street
Wallingford, CT 06492
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                                                                               ATTACHMENT A
ANDREWS WESLEY W & COLTON C AT 69 WOODS HILL RD REAR (Map72 BlockB Lot53)




                                             SOURCE: NORTH BRANFORD GIS PROPERTY VIEWER
                                             DATE ACCESSED: MARCH 13, 2018
                                             ACCESSED BY: CORI M. ROSE, USACE
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                                                                                 ATTACHMENT B
JEFF ANDREWS 216 NORTHFORD ROAD AND 69 WOODS HILL RD REAR (Map72 BlockB Lot53)




                                 216



                                          69




                                               SOURCE: NORTH BRANFORD GIS PROPERTY VIEWER
                                               DATE ACCESSED: MARCH 13, 2018
                                               ACCESSED BY: CORI M. ROSE, USACE
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                    NAE-2010-00802
                                                                                        ATTACHMENT C
2010 AERIAL - 216 NORTHFORD ROAD AREA OF CONCERN




                                         Source: Google Earth (accessed September 12, 2017)
                                         Created by: Cori M. Rose, USACE
                                         Date: September 2010
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                                                  CENAE-R-PRB
                                                  File No. NAE- 2010-00802
                                                  Regulatory Division




    ADMINISTRATIVE RECORD                     File No. NAE-2010-00802

    SUBJECT: Authorization to Enter Property

    I ___________________________ [name of at least one individual with ownership interest and

    signature below], hereby give the staff of the U.S. Army Corps of Engineers, New England

    District permission to enter upon my property located at 16 Northford Road, Wallingford,

    Connecticut and 69 Woods Hill Road (rear), North Branford, Connecticut, to conduct a site

    review for the purposes of:

       •   Assessment for wetland jurisdiction

       •    Wetland or waterway resource characterization

       •   Permit application evaluation

       •   Assessment with permit compliance or unauthorized activity investigation

       •   Investigation of work in or around wetland/waterway resources



    _____________________________          __________________________ ___________________
          Owner/Print Name                        Signature                  Date


    _____________________________          __________________________ ___________________
          Owner/Print Name                        Signature                  Date

    _____________________________          __________________________ ___________________
          Owner/ Print Name                             Signature            Date


    RETURN by EMAIL or Fax TO: cori.m.rose@usace.army.mil,
    Facsimile: 978) 318-8303

_______ CHECK HERE IF YOU WISH TO BE PRESENT, OR HAVE YOUR DESIGNATED
        REPRESENTATIVE(S) PRESENT DURING THE VISIT (we will provide you with at least
        10-days forewarning/notification of the intended site visit).
